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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )               CASE NO. 8:08CR318
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )            TENTATIVE FINDINGS
                                              )
DERMAINE DAVIS,                               )
                                              )
              Defendant.                      )

       The Court has received the Revised Presentence Investigation Report (“PSR”) and

the parties’ objections thereto (Filing Nos. 144, 145). The Defendant also filed a motion for

downward departure (Filing No. 141). See Order on Sentencing Schedule, ¶ 6. The Court

advises the parties that these Tentative Findings are issued with the understanding that,

pursuant to United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are

advisory.

       The parties have objected to the quantity of controlled substance attributable to the

Defendant in ¶ 29 and the base offense level 36. The plea agreement reached pursuant

to Federal Rule of Criminal Procedure 11(c)(1)(B) recommends a base offense level of 34

based on a quantity of at least 500 grams but less than 1.5 kilograms of crack cocaine.

(Filing No. 117.) The Court’s tentative findings are that, absent unusual circumstances, the

plea agreement should be upheld and the base offense level should be calculated as level

34.

       The Defendant’s motion for downward departure (Filing No. 141) will be heard at

sentencing.
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       IT IS ORDERED:

       1.     The parties’ objections to the Presentence Investigation Report (Filing Nos.

144, 145) are granted;

       2.     Otherwise the Court’s tentative findings are that the Presentence Investigation

Report is correct in all respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final;

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing; and

       6.     The Defendant’s motion for downward departure (Filing No. 141) will be heard

at sentencing.

       DATED this 23rd day of March, 2009.


                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          United States District Judge


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